                                   UNITED STATES BANKRUPTCY COURT
                                          DISTRICT OF OREGON

In re                                        )
                                                        18-32288-pcm7
                                             ) Case No.________________
Three J's Distributing, Inc.                 )
                                             )
                                             ) CREDITOR CHANGE OF ADDRESS
Debtor(s)                                    )


 Note to Debtors: If you wish to add a new creditor to this case, you must file LBF #728 and pay the
 required filing fee. If you submit a creditor address different from the one listed on the most recent proof of
 claim by that creditor, the court will send any notices to the creditor at both addresses.



Creditor Name: Bank of the West


 Old Address:                                                New Address:
Bank of the West                                            Bank of the West
1020 South Paramount Blvd.                                  10230 South Paramount Blvd.
Downey, CA 90241                                            Downey, CA 90241




Creditor Phone Number: ___________________________________________________________

If you are a creditor who has already filed a claim: Please enter the claim number and check the
appropriate box. You need not file an amended claim to update only an address.

Claim No.

Please use the new address for: G Notices only               G Payments only          G Notices and Payments

I CERTIFY THAT THE ABOVE INFORMATION IS TRUE AND CORRECT.

Date:       10/05/18           /s/ Nicholas J. Henderson
                               Signature (Required)
                               Nicholas J. Henderson                                            074027
                               Type/ Print Signer’s Name                                    OSB # (if attorney)
                               (503) 417-0500, Attorney for Debtor
                               Signer’s Phone # and Relation to Case

Further Information About Address Changes
Address changes for debtors must be filed on LBF #101D. Other parties may file an address change by letter
which includes the case number, debtor’s name, date, and the filer’s signature.

Further Information About Adding A New Party or Creditor to a Case [also see above Note to Debtors]
An ECF Participant who wishes to receive notice must electronically file a text-only Notice of Appearance or
Special Notice Request. Any other party who wishes to receive notice must file a written request with the court.

101C (2/19/13)

                               Case 18-32288-pcm7          Doc 59    Filed 10/05/18
